Case 2:22-cv-00547-MJH Document 18-4 Filed 06/13/22 Page 1 of 10




            EXHIBIT 1
        Case
         Case2:22-cv-00547-MJH
               2:20-cv-00110-LPL Document
                                  Document18-4
                                           37 Filed
                                               Filed09/20/20
                                                     06/13/22 Page
                                                              Page12of
                                                                     of810




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DEAVAN BERRY and BENJAMIN WECHSLER )
on behalf of themselves and similarly     )                 Civil Action No. 20-110
situated employees,                       )
                                          )
                              Plaintiffs, )
                                          )
               v.                         )
                                          )                 Magistrate Judge Lenihan
AMERICAN INCOME LIFE                      )
INSURANCE COMPANY,                        )
                                          )                 ECF Nos. 18 & 31
                              Defendant.  )

                                 MEMORANDUM OPINION

       Presently before the court are the Motions to Compel Arbitration (ECF Nos. 18 & 31)

filed by Defendant American Income Life Insurance Company. For the reasons that follow, the

Motions will be granted, and all further proceedings stayed pending the outcome of arbitration.

FACTS

       Plaintiffs Deavan Berry and Benjamin Wechsler (“Plaintiffs”) file this putative collective

and class action Complaint against Defendant American Income Life Insurance Company

(“Defendant” or “AIL”) alleging wage claims under the Fair Labor Standards Act (“FLSA”), the

Pennsylvania Minimum Wage Act (“PMWA”), and the Pennsylvania Wage Payment and

Collection Law (“WPCL”) on behalf of themselves and similarly situated employees.

       The relevant facts as set out by Plaintiffs in their consolidated responsive brief (ECF No.

34) are as follows:

                       The named Plaintiffs . . ., as well as any and all opt-in
               Plaintiffs, were employed as insurance producers for Defendant
               and paid on commission. They all worked at Defendant’s . . .
               Wexford, PA 15090 location. Upon hire, Plaintiffs were required
               to enter into an “Agent Contract” with Defendant. See Exhibit 1.
               The Agent Contract states, “The Agent is not an employee of the
       Case
        Case2:22-cv-00547-MJH
              2:20-cv-00110-LPL Document
                                 Document18-4
                                          37 Filed
                                              Filed09/20/20
                                                    06/13/22 Page
                                                             Page23of
                                                                    of810




               Company; rather, the agent is an independent contractor. The
               agent has no fixed hours and is free to choose the time and manner
               in which services are performed.” Id.
                        However, Plaintiffs and similarly situated employees’
               relationship with Defendant followed the normal path of an
               employee, not an independent contractor. Defendant regulated its
               agents’ schedules, requiring off-site sales meetings with potential
               buyers to occur at certain times and days of the week as well as in-
               office sales meetings and calls to occur at certain times and days of
               the week. Agents were discouraged from holding other jobs while
               working for Defendants[sic]. Defendants[sic] controlled the
               products Plaintiffs and similarly situated employees were allowed
               to sell. Defendants[sic] trained Plaintiffs and similarly situated
               employees in Defendant’s standard sales policies and practices and
               required Plaintiffs and other workers to adhere to those policies
               and practices. The duties performed by all Plaintiffs were integral
               to Defendant’s business. Additionally, Defendant did not negotiate
               distinct business agreements with each agent; rather, Defendant
               dictated standard terms for all agents. All of this goes directly
               against Plaintiff’s [sic] being independent contractors with no fixed
               hours and being free to choose the time and manner in which
               services are performed as stated in the Agent Agreement.

Plaintiffs’ Opposition Brief to Defendant’s Motion to Compel. ECF No. 34 at 5. Plaintiffs

conclude that Defendant intentionally defrauded employees regarding their work schedules to

entice them to work for less money than they were entitled. Plaintiffs seek rescission of the

Agent Contract, thereby rendering the Arbitration Agreement unenforceable. ECF No. 34 at 6.

LEGAL STANDARD AND APPLICABLE LAW FOR MOTION TO COMPEL

       In Guidotti v. Legal Helpers Debt Resolution, LLC, 716 F.3d 764, 771 (3d Cir. 2013), the
court of appeals clarified which standard of review should be applied in evaluating motions to
compel arbitration:
               [W]hen it is apparent, based on “the face of a complaint, and
               documents relied upon in the complaint,” that certain of a party's
               claims “are subject to an enforceable arbitration clause, a motion to
               compel arbitration should be considered under a Rule 12(b)(6)
               standard without discovery's delay.” Somerset [Consulting, LLC v.
               United Capital Lenders, LLC], 832 F. Supp.2d [474] at 482 [E.D.
               Pa. 2011]. But if the complaint and its supporting documents are
               unclear regarding the agreement to arbitrate, or if the plaintiff has
               responded to a motion to compel arbitration with additional facts

                                                2
        Case
         Case2:22-cv-00547-MJH
               2:20-cv-00110-LPL Document
                                  Document18-4
                                           37 Filed
                                               Filed09/20/20
                                                     06/13/22 Page
                                                              Page34of
                                                                     of810




               sufficient to place the agreement to arbitrate in issue, then “the
               parties should be entitled to discovery on the question of arbitrability
               before a court entertains further briefing on [the] question.” Id. After
               limited discovery, the court may entertain a renewed motion to
               compel arbitration, this time judging the motion under a summary
               judgment standard. In the event that summary judgment is not
               warranted because “the party opposing arbitration can demonstrate,
               by means of citations to the record,” that there is “a genuine dispute
               as to the enforceability of the arbitration clause,” the “court may
               then proceed summarily to a trial regarding ‘the making of the
               arbitration agreement or the failure, neglect, or refusal to perform
               the same,’ as Section 4 of the FAA envisions.” Id. (quoting 9 U.S.C.
               § 4).

Id. at 776.
        In the instant matter, the Complaint contains allegations suggesting that the stated claims

may be subject to an enforceable arbitration agreement. See Agent Contract attached to the

Complaint at ECF No. 1-4. Thus, the Rule 12(b)(6) standard is applicable here.

        When applying the standard for a motion to dismiss for failure to state a claim to a

motion to compel arbitration, the court considers “only the allegations in the complaint, exhibits

attached to the complaint, matters of public record, and documents that form the basis of a

claim.” HealthplanCRM, LLC v. AvMed, Inc., 2:19-cv-1357-NR, 2020 WL 2028261, at *5

(W.D. Pa. April 28, 2020) (internal quotations and citations omitted). The court will accept the

factual allegations of the complaint as true and “consider the substance of the contracts that

ostensibly compel arbitration.” Id. (internal citation omitted). If an agreement to arbitrate

appears from the face of the complaint or the documents relied upon in the complaint, a district

court should grant a motion to compel arbitration. See id.

        Moreover, the Federal Arbitration Act (“FAA”) “establishes a strong federal policy in favor

of the resolution of disputes through arbitration.” Alexander v. Anthony Int’l, L.P., 341 F.3d 256,

263 (3d Cir. 2003) (citation omitted). Under the FAA, a “party aggrieved by the alleged failure,

neglect, or refusal of another to arbitrate under a written agreement for arbitration may petition

                                                  3
        Case
         Case2:22-cv-00547-MJH
               2:20-cv-00110-LPL Document
                                  Document18-4
                                           37 Filed
                                               Filed09/20/20
                                                     06/13/22 Page
                                                              Page45of
                                                                     of810




any United States District Court . . . for an Order directing that such arbitration proceed in the

manner provided in the agreement.” Grimm v. First Nat’l Bank of Pa., 578 F. Supp.2d 785, 791

(W.D. Pa. 2008) (citing 9 U.S.C. § 4). If the Court “is satisfied that the issue before it is referable

to arbitration, upon application of one of the parties,” the Court “shall stay its proceedings until

the arbitration has been had in accordance with the terms of the agreement.” Id. at 791-92 (citing

9 U.S.C. § 3).

       Under the FAA, “arbitration is a matter of contract and a party cannot be required to submit

to arbitration any dispute which he has not agreed so to submit.” DCK N. Am., LLC v. Burns &

Roe Servs. Corp., 218 F. Supp.3d 465, 471 (W.D.Pa. 2016) (quoting Howsam v. Dean Witter

Reynolds, Inc., 537 U.S. 79, 83 (2002)).      Thus, before compelling arbitration under the FAA,

courts must resolve two threshold issues: (1) whether the parties entered into a valid agreement to

arbitrate; and (2) whether the particular dispute falls within the scope of that agreement. Kirleis v.

Dickie, McCamey & Chilcote, P.C., 560 F.3d 156, 160 (3d Cir. 2009).

       In determining whether the parties have agreed to arbitrate, courts apply “ordinary state-

law principles that govern the formation of contracts” generally. Century Indem. Co. v. Certain

Underwriters at Lloyd’s London, 584 F.3d 513, 524 (3d Cir. 2009) (citations omitted). Once a

court has found that there is a valid agreement to arbitrate, the determination of whether the

particular dispute falls within the scope of that agreement is a matter of federal law. Id. In deciding

whether a dispute falls within the scope of the arbitration agreement, a presumption of arbitrability

applies. Id. That is, “an order to arbitrate the particular grievance should not be denied unless it

may be said with positive assurance that the arbitration clause is not susceptible of an interpretation

that covers the asserted dispute.” Id. (quoting AT&T Techs., Inc. v. Comm’ns Workers, 475 U.S.

643, 650 (1986)); see also Kirleis, 560 F.3d at 160.


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        Case
         Case2:22-cv-00547-MJH
               2:20-cv-00110-LPL Document
                                  Document18-4
                                           37 Filed
                                               Filed09/20/20
                                                     06/13/22 Page
                                                              Page56of
                                                                     of810




ANALYSIS

       In support of the Motions to Compel Arbitration and for a stay of this civil action,

Defendant argues that because the Arbitration Agreement between Plaintiffs and Defendant is

valid, and because Plaintiffs’ individual claims fall within the scope of the Agreement, this Court

should compel arbitration and stay the case. Plaintiffs respond: 1) that the Arbitration Clause is

invalid because the Agent Contract was induced by fraud, and 2) the Arbitration Clause does not

survive the termination of the Agent Agreement.

       Here, the Plaintiffs entered into the Agent Contract with Defendant and agreed to sell

AIL insurance products. See Agent Contract, ECF No. 1-4. The Agent Contract contains a two-

paragraph Arbitration section which provides in relevant part as follows:

               In the event of any dispute or disagreement, whether arising out of
               or relating to this Contract or otherwise, that is not subject to or
               resolved by the grievance process set forth in the operative union
               agreement between the Company’s State General Agents, the
               Company and OPEIU Local 277, the Parties to the dispute shall
               use their best efforts to settle such disputes. . . .

               If the Parties do not reach a just solution by negotiation as
               described above, then upon written notice by one Party to another,
               all disputes, claims, questions and controversies of any kind or
               nature arising out of or relating to this Contract, any alleged
               violation of any state or federal statute, regulation, law or order of
               any kind, and/or the agent’s relationship as an independent
               contractor and not an employee (including, without limitation,
               claims for wrongful termination, discrimination, wage-and-hour
               violations, or any other claim based on an alleged employment
               relationship), . . . shall be submitted to binding arbitration under
               the substantive rules of the Federal Arbitration Act (“FAA”) . . .
               Arbitration shall be on an individual, not a class, collective,
               representative, or private attorney general basis.

Agent Contract, ECF No. 1-4 at 3 (emphasis added).

       Plaintiffs here, however, do not argue that the arbitration provision itself is invalid. Nor

do they argue that the dispute at bar does not fall within the language of the arbitration provision.

                                                  5
         Case
          Case2:22-cv-00547-MJH
                2:20-cv-00110-LPL Document
                                   Document18-4
                                            37 Filed
                                                Filed09/20/20
                                                      06/13/22 Page
                                                               Page67of
                                                                      of810




Instead, Plaintiffs argue that the Agent Contract was induced by fraud and therefore, should be

rescinded, thereby rendering the arbitration provision unenforceable.

         The United States Supreme Court has specifically rejected this argument. In Buckeye

Check Cashing, Inc. v. Cardegna, the United States Supreme Court held that a challenge to the

validity of a contract as a whole, rather than to the arbitration clause itself, must be decided by

the arbitrator. 546 U.S. 440, 445-46 (2006) (discussing Prima Paint Corp. v. Flood & Conklin

Mfg. Co., 388 U.S. 395 (1967) (claim of fraud in the inducement of the entire contract is for the

arbitrator; but “if the claim is fraud in the inducement of the arbitration clause itself—an issue

which goes to the making of the agreement to arbitrate—the federal court may proceed to

adjudicate it.”) See also Bertram v. Beneficial Consumer Disc. Co., 286 F. Supp.2d 453, 457

(M.D. Pa. 2003) (citing Prima Paint Corp., 388 U.S. at 403-04 (“[T]he court may decline to

enforce an arbitration clause only when the making of the clause itself, not merely the making of

the contract as a whole, is disputed.”)). Here, the Plaintiffs complain of fraud in the inducement

of the contract generally, and not as to the arbitration clause itself. Therefore, “unless the

challenge is to the arbitration clause itself, the issue of the contract’s validity is considered by the

arbitrator in the first instance.” Buckeye Check Cashing, Inc., 546 U.S. at 445-46.1

         Plaintiffs’ second argument in opposition to Defendant’s Motions to Compel is that even

if the Agent Agreement is valid, it was terminated at the end of Plaintiffs’ employment, and




1 Unlike MZM Construction Co, Inc. v. New Jersey Building Laborers Statewide Benefit Funds, Nos. 18-379 & 19-

3102, 2020 WL 5509703 (3d Cir. Sept. 14, 2020), Plaintiffs here are arguing fraud in the inducement and seek to
rescind the contract that admittedly existed. Plaintiffs’ Brief in Opposition to Motion to Compel, ECF No. 34 at 6.
In MZM Construction, the formation of the contract containing the relevant arbitration provision was at issue. MZM
Construction, 2020 WL 5509703 at *1. See also Sandvik AB v. Advent Intern. Corp., 220 F.3d 99, 107 (3d Cir.
2000) (“[W]e draw a distinction between contracts that are asserted to be ‘void’ or non-existent, . . . and those that
are merely ‘voidable,’ as was the contract at issue in Prima Paint . . . .”) As noted by the court in MZM
Construction, “a claim of fraud in the inducement of the container contract is for the arbitrator.” MZM
Construction, 2020 WL 5509703, at *6 (citing Prima Paint Corp., 388 U.S. at 403-04)(emphasis in original).

                                                          6
        Case
         Case2:22-cv-00547-MJH
               2:20-cv-00110-LPL Document
                                  Document18-4
                                           37 Filed
                                               Filed09/20/20
                                                     06/13/22 Page
                                                              Page78of
                                                                     of810




therefore, the arbitration provision was also terminated. The arbitration clause, however,

anticipates that certain challenges could be brought post-employment against Defendant:

               all disputes, claims, questions and controversies of any kind or
               nature arising out of or relating to this Contract, any alleged
               violation of any state or federal statute, regulation, law or order of
               any kind, and/or the agent’s relationship as an independent
               contractor and not an employee (including, without limitation,
               claims for wrongful termination, discrimination, wage-and-hour
               violations, or any other claim based on an alleged employment
               relationship), . . . shall be submitted to binding arbitration under
               the substantive rules of the Federal Arbitration Act (“FAA”) . . .


Agent Contract, ECF No. 1-4 at 3 (emphasis added). For example, a claim for wrongful

termination would arise out of, or relate to, the Agent Contract but only after the termination of

the Agent Agreement. Moreover, there is a presumption than an arbitration agreement survives a

contract’s termination unless the parties clearly indicate otherwise. See Litton Fin. Printing v.

NLRB, 501 U.S. 190, 204 (1991). See also Laborers’ Int’l Union of N. Am., AFL-CIO v. Foster

Wheeler Energy Corp., 26 F.3d 375, 400 (3d Cir. 1994) (“postexpiration grievance is subject to

arbitration if the grievance ‘involves facts and occurrences that arose before expiration’”)

(quoting Litton Fin. Printing, 501 U.S. at 204). Here, Plaintiffs’ claims relate to “facts and

occurrences that arose” before Plaintiffs’ relationship with Defendant expired. See id.

Moreover, the Agent Agreement does not indicate that the arbitration clause does not survive the

termination of the Agent Agreement. Therefore, this Court is unpersuaded by Plaintiffs’

argument that the arbitration provisions of the Agent Agreement did not survive the termination

of Plaintiffs’ relationship with Defendant.




                                                  7
       Case
        Case2:22-cv-00547-MJH
              2:20-cv-00110-LPL Document
                                 Document18-4
                                          37 Filed
                                              Filed09/20/20
                                                    06/13/22 Page
                                                             Page89of
                                                                    of810




CONCLUSION

       For the reasons discussed above, the Motions to Compel Arbitration (ECF Nos. 18 & 31)

filed by Defendant American Income Life Insurance Company will be granted.

       An appropriate Order will follow.

Dated: September 20, 2020

                                                 BY THE COURT



                                                 _________________________
                                                 Lisa Pupo Lenihan
                                                 UNITED STATES MAGISTRATE JUDGE




                                             8
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         Case
            2:22-cv-00547-MJH
               2:20-cv-00110-LPLDocument
                                 Document18-4
                                           38 Filed 09/20/20
                                                    06/13/22 Page 1
                                                                  10ofof110




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DEAVAN BERRY and BENJAMIN WECHSLER )
on behalf of themselves and similarly     )             Civil Action No. 20-110
situated employees,                       )
                                          )
                              Plaintiffs, )
                                          )
               v.                         )
                                          )             Magistrate Judge Lenihan
AMERICAN INCOME LIFE                      )
INSURANCE COMPANY,                        )
                                          )             ECF Nos. 18 & 31
                              Defendant.  )

                                         ORDER

       AND NOW, this 20th day of September 2020, it is hereby ORDERED that the Motions

to Compel Arbitration (ECF Nos. 18 & 31) filed by Defendant American Income Life Insurance

Company are GRANTED.

       IT IS FURTHER ORDERED that all further proceedings are STAYED pending the

outcome of arbitration.



                                                 BY THE COURT




                                                 _________________
                                                 Lisa Pupo Lenihan
                                                 UNITED STATES MAGISTRATE JUDGE
